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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 SHIRA PERLMUTTER,

       Plaintiff,
                                                     Case No. 25-cv-01659-TJK
 v.

 TODD BLANCHE et al.,

       Defendants.



                       PLAINTIFF SHIRA PERLMUTTER’S MOTION
                          FOR A PRELIMINARY INJUNCTION

       Pursuant to Rule 65(a) of the Federal Rules of Civil Procedure and Local Civil Rule 65.1,

Plaintiff Shira Perlmutter, by undersigned counsel, respectfully moves for a preliminary

injunction enjoining Defendants from unlawfully attempting to remove Ms. Perlmutter from her

position as Register of Copyrights and Director of the U.S. Copyright Office. The precise

contours of the order that Plaintiff seeks are provided in the proposed order attached to this

Motion. Preliminary relief is necessary due to the exigency of the circumstances created by

Defendants’ unlawful conduct and the irreparable injuries that the requested preliminary

injunction is intended to prevent.

       The grounds for this Motion are set forth in the attached memorandum of law and its

supporting declaration. A proposed order is attached.


Dated: June 10, 2025                          Respectfully submitted,


                                              /s/ Allyson R. Scher
                                              Brian D. Netter (D.C. Bar No. 979362)
                                              Allyson R. Scher (D.C. Bar No. 1616379)
                                              Democracy Forward Foundation


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